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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION



 UNITED STATES OF AMERICA,

        Plaintiff,

 -vs-                                                          Case No.: 6:95-cr-208-Orl-19

 ISABELITA DURAN,

        Defendant.

 ______________________________/

                                          ORDER

        This case is before the Court on Defendant’s Motion Under Federal Rule of Civil

 Procedure 60(b)(5)(6) (Doc. No. 1092, filed March 1, 2006). Defendant alleges that there

 were errors in her sentencing and that she is entitled to a resentencing.

        Federal Rule of Civil Procedure 60 does not provide a basis for the relief sought by

 Defendant. Rather, it appears that Defendant is seeking relief under 28 U.S.C. section 2255.

 If so, Defendant should file a separate motion seeking such relief.1

        Accordingly, it is ORDERED that Defendant’s Motion Under Procedure 60(b)(5)(6)

 (Doc. No. 1092, filed March 1, 2006) is DENIED.

        DONE AND ORDERED at Orlando, Florida this __6th_____ day of March, 2006.




        1
         The Court is not making any determination as to whether such claims would be
 viable under section 2255.
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